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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

Fill in this information to identify your case:

 

 

 

Debtor 1 James G Rainey
First Name Middle Name Last Name
. . Check if this is an amended plan.
Debtor 2 Robbie L Rainey C P
(Spouse, if filing) First Name Middle Name Last Name

Case Number 19-30115

(If known)

 

 

 

CHAPTER 13 PLAN AND MOTION
[Pursuant to Fed. R. Bankr. P. 3015.1, the Southem District of Georgia General Order 2017-3 adopts this form in lieu of the Official Form 113].
1. Notices. Debtor(s) must check one box on each line to state whether or not the plan includes each of the following items.

If an item is checked as not being contained in the plan or if neither or both boxes are checked, the provision will be
ineffective if set out in the plan.

(a) This plan: contains nonstandard provisions. See paragraph 15 below.

CL) does not contain nonstandard provisions.

(b) This plan: values the claim(s) that secures collateral, See paragraph 4(f) below.
LC does not value claim(s) that secures collateral.

(c) This plan: seeks to avoid a lien or security interest. See paragraph 8 below.
ZC) does not seek to avoid a lien or security interest.

 

2. Plan Payments.
(a) The Debtor(s) shall pay to the Chapter 13 Trustee (the “Trustee’’) the sum of $885.00 per month for the applicable
commitment period of:
C60 monihe-or (If applicable include the following: These plan
; payments will change to $ monthly on
a minimum of 36 months. See 11 U.S.C. § 1325(b)(4). ,20_)

(b) The payments under paragraph 2(a) shall be paid:

C] Pursuant to a Notice to Commence Wage Withholding, the Debtor(s) request(s) that the Trustee serve such Notice(s)
upon the Debtor’s(s’) employer(s) as soon as practicable after the filing of this plan. Such Notice(s) shall direct the
Debtor’s(s’) employer(s) to withhold and remit to the Trustee a dollar amount that corresponds to the following
percentages of the monthly plan payment:

XO) Debtor 1 % © Debtor2 _ %

Direct to the Trustee for the following reason(s):
The Debtor(s) receive(s) income solely from self-employment, Social Security, government assistance, or
retirement.
CJ The Debtor(s) assert(s) that wage withholding is not feasible for the following reason(s):

 

(c) Additional Payments of $ ___ (estimated amount) will be made on (anticipated date)

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from (source, including income tax refunds).

a Long-Term Debt Payments.

(a) Maintenance of Current Installment Payments. The Debtor(s) will make monthly payments in the manner specified as
follows on the following long-term debts pursuant to 11 U.S.C. § 1322(b)(5). These postpetition payments will be disbursed
by either the Trustee or directly by the Debtor(s), as specified below. Postpetition payments are to be applied to postpetition
amounts owed for principal, interest, authorized postpetition late charges and escrow, if applicable. Conduit payments that
are to be made by the Trustee which become due after the filing of the petition but before the month of the first payment
designated here will be added to the prepetition arrearage claim.

PAYMENTS TOBE MONTH OF FIRST

PRINCIPAL MADEBY POSTPETITION INITIAL
RESIDENCE (TRUSTEE OR PAYMENT TO MONTHLY
CREDITOR COLLATERAL (Y/N) DEBTOR(S)) CREDITOR PAYMENT
First Laurens Real Property ¥ Debtor June 2019 Contract
Rate

(b) Cure of Arrearage on Long-Term Debt. Pursuant to 11 U.S.C. § 1322(b)(5), prepetition arrearage claims will be paid in
full through disbursements by the Trustee, with interest (if any) at the rate stated below. Prepetition arrearage payments are
to be applied to prepetition amounts owed as evidenced by the allowed claim.

DESCRIPTION OF PRINCIPAL ESTIMATED AMOUNT INTEREST RATE ON
CREDITOR COLLATERAL RESIDENCE (Y/N) OF ARREARAGE ARREARAGE (if applicable)
4. Treatment of Claims. From the payments received, the Trustee shall make disbursements as follows unless designated

otherwise:

(a) Trustee’s Fees. The Trustee percentage fee as set by the United States Trustee.
(b) Attorney’s Fees. Attorney’s fees allowed pursuant to 11 U.S.C. § 507(a)(2) of $4500.00__.

(c) Priority Claims. Other 11 U.S.C. § 507 claims, unless provided for otherwise in the plan will be paid in full over the life of
the plan as funds become available in the order specified by law.

(d) Fully Secured Allowed Claims. All allowed claims that are fully secured shall be paid through the plan as set forth below.

 

CREDITOR DESCRIPTION OF COLLATERAL ESTIMATED CLAIM INTEREST RATE MONTHLY PAYMENT
Laurens County Tax Assessor — Real Property $160 0% $3.00

Farmers Furniture Personal Property $5000 5% $100.00

First Laurens Vehicle (Silverado) $4545 5% $80.00

First Laurens Vehicle (Toyota) $6000 5% $125.00

(e) Secured Claims Excluded from 11 U.S.C. § 506 (those claims subject to the hanging paragraph of 11 U.S.C. §
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1325(a)). The claims listed below were either: (1) incurred within 910 days before the petition date and secured by a
purchase money security interest in a motor vehicle acquired for the personal use of the Debtor(s), or (2) incurred within 1
year of the petition date and secured by a purchase money security interest in any other thing of value. These claims will
be paid in full under the plan with interest at the rate stated below:

CREDITOR DESCRIPTION OF COLLATERAL ESTIMATED CLAIM INTEREST RATE MONTHLY PAYMENT

(f) Valuation of Secured Claims to Which 11 U.S.C. § 506 is Applicable. The Debtor(s) move(s) to value the claims partially
secured by collateral pursuant to 11 U.S.C. § 506 and provide payment in satisfaction of those claims as set forth below. The
unsecured portion of any bifurcated claims set forth below will be paid pursuant to paragraph 4(h) below. The plan shall be
served on all affected creditors in compliance with Fed. R. Bankr. P. 3012(b), and the Debtor(s) shall attach a certificate of

service.
VALUATION OF
CREDITOR DESCRIPTION OF COLLATERAL SECURED CLAIM INTEREST RATE MONTHLY PAYMENT
Lendmark (each account) Personal Property $1.00 5% $1.00
Republic Finance Personal Property/Vehicle $1.00 5% $1.00

(g) Special Treatment of Unsecured Claims. The following unsecured allowed claims are classified to be paid at 100%
C1 with interest at ; % per annum or LJ without interest:

 

(h) General Unsecured Claims, Allowed general unsecured claims, including the unsecured portion of any bifurcated claims
provided for in paragraph 4(f) or paragraph 9 of this plan, will be paid a 0 % dividend or a pro rata share of
$00 _, whichever is greater.

5. Executory Contracts.

(a) Maintenance of Current Installment Payments or Rejection of Executory Contract(s) and/or Unexpired Lease(s).

DESCRIPTION OF PROPERTY/SER VICES ASSUMED/ MONTHLY DISBURSED BY TRUSTEE
CREDITOR AND CONTRACT REJECTED PAYMENT OR DEBTOR(S)
Progressive Leasing Lease Agreement Assume Contract Debtor
Rate

(b) Treatment of Arrearages. Prepetition arrearage claims will be paid in full through disbursements by the Trustee.

CREDITOR ESTIMATED ARREARAGE

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6. Adequate Protection Payments. The Debtor(s) will make pre-confirmation lease and adequate protection payments pursuant
to 11 U.S.C. § 1326(a)(1) on allowed claims of the following creditors: C Direct to the Creditor; or LJ To the Trustee.

CREDITOR ADEQUATE PROTECTION OR LEASE PAYMENT AMOUNT

7. Domestic Support Obligations. The Debtor(s) will pay all postpetition domestic support obligations direct to the holder of
such claim identified here. See 11 U.S.C. § 101(14A). The Trustee will provide the statutory notice of 11 U.S.C. § 1302(d) to
the following claimant(s):

CLAIMANT ADDRESS

8. Lien Avoidance. Pursuantto 11 U.S.C. § 522(f), the Debtor(s) move(s) to avoid the lien(s) or security interest(s) ofthe following
creditor(s), upon confirmation but subject to 11 U.S.C. § 349, with respect to the property described below. The plan shall be
served on all affected creditor(s) in compliance with Fed. R. Bankr. P. 4003(d), and the Debtor(s) shall attach a certificate of

service.
CREDITOR LIEN IDENTIFICATION (if known) PROPERTY
Curry Management Magistrate Court Laurens County Judicial Lien
Lendmark Household Goods
9, Surrender of Collateral. The following collateral is surrendered to the creditor to satisfy the secured claim to the extent shown

below upon confirmation of the plan. The Debtor(s) request(s) that upon confirmation of this plan the stay under 11 U.S.C. §
362(a) be terminated as to the collateral only and that the stay under 11 U.S.C. § 1301 be terminated in all respects. Any allowed
deficiency balance resulting from a creditor’s disposition of the collateral will be treated as an unsecured claim in paragraph
4(h) of this plan if the creditor amends its previously-filed, timely claim within 180 days from entry of the order confirming this
plan or by such additional time as the creditor may be granted upon motion filed within that 180-day period.

CREDITOR DESCRIPTION OF COLLATERAL AMOUNT OF CLAIM SATISFIED
American Honda Finance Reposessed Vehicle Full Satisfaction of Debt

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10.

11.

12,

13.

14.

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Retention of Liens. Holders of allowed secured claims shall retain the liens securing said claims to the full extent provided by
11 U.S.C § 1325(a)(5).

Amounts of Claims and Claim Objections. The amount, and secured or unsecured status, of claims disclosed in this plan are
based upon the best estimate and belief of the Debtor(s). An allowed proof of claim will supersede those estimated claims. In
accordance with the Bankruptcy Code and Federal Rules of Bankruptcy Procedure, objections to claims may be filed before or
after confirmation.

Payment Increases. The Debtor(s) will increase payments in the amount necessary to fund allowed claims as this plan proposes,
after notice from the Trustee and a hearing if necessary, unless a plan modification is approved.

Federal Rule of Bankruptcy Procedure 3002.1. The Trustee shall not pay any fees, expenses, or charges disclosed by a
creditor pursuant to Fed. R. Bankr. P. 3002.1(c) unless the Debtor’s(s’) plan is modified after the filing of the notice to provide
for payment of such fees, expenses, or charges.

Service of Plan. Pursuant to Fed. R. Bankr. P. 3015(d) and General Order 2017-3, the Debtor(s) shall serve the Chapter 13 plan
on the Trustee and all creditors when the plan is filed with the court, and file a certificate of service accordingly. If the Debtor(s)
seek(s) to limit the amount of a secured claim based on valuation of collateral (paragraph 4(f) above), seek(s) to avoid a security
interest or lien (paragraph 8 above), or seek(s) to initiate a contested matter, the Debtor(s) must serve the plan on the affected
creditors pursuant to Fed. R. Bankr. P. 7004. See Fed. R. Bankr. P. 3012(b), 4003(d), and 9014.

Nonstandard Provisions. Under Fed. R. Bankr. P. 3015(c), nonstandard provisions must be set forth below. A nonstandard
provision is a provision not otherwise in this local plan form or deviating from it. Nonstandard provisions set out elsewhere in

this plan are void.

Harley to be paid by Co-Debtor

By signing below, I certify the foregoing plan contains no nonstandard provisions other than those set out in paragraph 15.

Dated: 6/4/2019 s/ James D. Rainey

Debtor I

s/ Robbie L. Rainey
Debtor 2

s/ Angela McElroy-Magruder
Attorney for the Debtor(s)

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA

DUBLIN DIVISION
James D Rainey )  CASENO. 19-30115-SDB
Robbie L Rainey )
)
)
CERTIFICATE OF SERVICE

I hereby certify that I have served a copy of the within and foregoing Chapter 13 Plan and
Motion by placing same in the United States Mail with proper postage affixed thereon to insure
delivery, addressed as follows:

e SEE ATTACHED MATRIX

I hereby certify that the following insured depository institutions were served by
Certified Mail addressed to the officer of the institution:

I hereby certify that the following parties and counsel were served electronically through
the Notice of Electronic Filing (NEF) at the following addresses:

Huon Le
notices@chpl3aug.org

Office of the US Trustee
Ustpregion21 sv.ecf@usdoj.gov

This 4* day of June, 2019.

s/ Angela McElroy-Magruder
Angela McElroy-Magruder
Georgia Bar No. 113625

Claeys, McElroy-Magruder & Kitchens

512 Telfair Street

Augusta, Georgia 30901

706-724-6000
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PO Box 21968

Carson City,NV 89721

Laurens County Tax Comm
121 East Jackson Street Ste B
Dublin,GA 31021

Lendmark

Attn: Servicing Agent/Officer
2118 Usher St NW

Covington,GA 30014

Lendmark

Attn: Agent/Officer

1831 Veterans Blvd Ste A
Dublin,GA 31021

Progressive Leasing
256 West Data Drive
Draper,UT 84020

Republic
2103 Veterans Blvd Ste B
Dublin,GA 31021

Surge
PO Box 3220
Buffalo,NY 14240

Syncb/Home
PO Box 960061
Orlando,FL 32896
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Bay Area Credit Service

PO Box 467600
Atlanta,GA 31146

Big Lots/Progressive Leasing
256 Data Drive
Draper,UT 84020

Capital One
271 17th Street, NW Ste 2200
Atlanta,GA 30363

Credit One
PO Box 60500
City of Industry,CA 91716

Curry Management Group
1825 Veterans Blvd
Dublin,GA 31021

Debt Recovery
6800 Jericho Turnpike, Ste 113 E
Syosset,NY 11791

Farmers Furniture
PO Box 1140
Dublin,GA 31040

First Laurens Bank

Attn: Servicing Agent/Officer
2040 Veterans Blvd

Dublin,GA 31021

First Laurens Bank
2040 Veterans Blvd
Dublin,GA 31021
